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                         APPENDIX A




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                                           AGENDA
                   MAVERICK COUNTY COMMISSIONERS COURT
                              SPECIAL MEETING
                   MONDAY, OCTOBER 30, 2023, AT 3:30 P.M. CST
            COMMISSIONER'S COURT, MAVERICK COUNTY COURTHOUSE
             500 QUARRY ST. EAGLE PASS, MAVERICK COUNTY, TEXAS




ESTABLISHMENT OF QUORUM
CITIZENS COMMUNICATIONS AND RECOGNITIONS
CONSENT ITEMS
  1.   Discussion and Appropriate Action to approve and ratify Ruby Day the use of Maverick
       County Lake for a Fall Bake Sale on Saturday, October 21, 2023, from 10:00 a.m. to 1:00
       p.m. - County Judge

  2.   Discussion and Appropriate Action to allow lera Iglesia Apostolica de Ia Fe en Cristo Jesus
       to use of the Maverick County Veterans Memorial Amphitheater on November 19, 2023, for
       a church event free to the community. County Judge

  3.   Discussion and Appropriate Action to extend vacation time for Maria Garza under
       Nutrition Center due to workload. County Judge

  4.   Discussion and Appropriate Action to allow Templo Palabra tie Vida to use Maverick
       County Lake from December 11, 2023, through December 22, 2023, from 6:00 p.m. to 10:00
       p.m. everyday to represent stories of Jerusalem free to the community. County Judge

  5.   Discussion anti Appropriate Action to allow The Law firm of Oscar A. Garza the use of
       Maverick County Lake on November 20, 2023, starting at 11:00 a.m. to distribute turkeys
       to the community. County Judge

  6.   Discussion anti Appropriate Action to install three (3) stop signs at the intersection of Fire
       Fly Lane, Saint Annie Rd., and Monarch Path. Corn missioner Ramos

  7.   Discussion and Appropriate Action to allow Clinic Villa Nueva Family Practice and
       Promise Family Service to do several mini health clinics at the Seco Mines Community
       Center. Commissioner Ramos
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8.   Discussion and Appropriate Action to provide barricades for a neighborhood Halloween
     Costume Party at 337 Alazan Dr. on October 13, 2023.- Commissioner Ramos

9.   Discussion and Appropriate Action to install a streetlight at 558 FM 1907.   Commissioner
     Rarnos

10. Discussion and Appropriate Action to install two (2) streetlights at Commissary Ave.        -
     Commissioner Ramos

11. Discussion and Appropriate Action to install three (3) streetlights.   Commissioner Ramos

12. Discussion and    Appropriate Action to install three (3) streetlights in Garcia St.
     Commissioner Ramos

13. Discussion and    Appropriate Action to install two (2) streetlights in Cenizo Dr.
     Commissioner Ramos

14. Discussion and   Appropriate Action to install hvo (2) streetlights in Sanchez Ave. -
     Corn missioner Ramos

15. Discussion and Appropriate Action to approve a Community Safety Awareness Event to be
    held at the Seco Mines Community Center Pavilion on Wednesday, October 25, 2023, from
     6:00-9:00 p.m.- Commissioner Ramos

16. Discussion and Appropriate Action to allow the Quemado Advisory Board to host a
    Veterans Day Event after the parade at the Quemado Park on Saturday, November 11,
     2023.   Commissioner Ramos

17. Discussion and   Appropriate Action to approve Precinct 3 Tire Pick-up Campaign. -
     Commissioner Ramos

18. Discussion and    Appropriate Action to install      2   streetlights on O'Connell Road.    -
     Commissioner Ramos

19. Discussion and Appropriate Action to install a streetlight at 548 Third Street Quemado,
     Texas. - Commissioner Ramos

20. Discussion and Appropriate Action to install an area light at 549 Third Street Quemado,
     Texas. - Commissioner Ramos

21. Discussion and Appropriate Action to install a streetlight at 519 W. Quemado Avenue
                      -
    Quemado, Texas. Commissioner Ramos

22. Discussion and Appropriate Action to appoint one (I) non-paid deputy constable in Precinct
    2 Jose Julian Tello has met all the prerequisites of law to become licensed Texas peace
     Officer. - Commissioner Rios
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  23. Discussion and Appropriate Action to allow Zasha Sanchez to host a Trunk or Treat Event
      at El Indio Community Center for the community on October 27, 2023, from 6:00 p.m. to
      9:00 p.m. Commissioner Rios

  24. Discussion and Appropriate Action to install one (1) speed hump at 178 Ranchitos Rd.
      Commissioner Rios

  25. Discussion and Appropriate Action to install one (1) LED light at 3206 Sauz St.
      Corn missioner Rios

  26. Discussion and Appropriate Action to approve a celebration of 4" of July at Nick Carr
      Sports Complex event to be held July 3, 2024, at 8:00 p.m.- Commissioner Ruiz

  27. Discussion and Appropriate Action to install a LED streetlight at 1820 Calle Oaxaca.
      Commissioner Ruiz

  28. Discussion and Appropriate Action to install a LED streetlight at 505 County Rd.
      Corn missioner Ruiz

  29. Discussion and Appropriate Action to approve Henry B. Gonzalez Bobcats (flag
      Football/Baseball players) host a Halloween Party Event to the players at no cost at the
      Nick Carr Sports Complex (Loma Bonita) on October 30, 2023, from 5:00 p.m. to 10:00
      p.m.   Commissioner Ruiz


REGULAR ITEMS


  30. Discussion and Appropriate Action to receive a response from the Maverick County
      Elections Administrator on the submission of the Petition submitted to Maverick County
      regarding the Certificate of Obligation Series 2023, subject but not limited to ratification,
      denial and/or further action. - County Judge

  31. Discussion and Appropriate Action to consider and adopt an order authorizing the issuance
     of Maverick County, Texas Combination Tax and Subordinate Lien Revenue Certificate of
     Obligation, Series 2023, in the principal amount of S7,200,000.00 and awarding the sale of
     such certificates to the Texas Water Development Board. County Judge

  32. Discussion and Appropriate Action to consider and adopt a Resolution authorizing and
      approving a grant agreement with the Texas Water Development Board in the amount of
      $16,800,000.00; and resolving other matters incident and relating thereto. County Judge

  33. Discussion and Appropriate Action to adopt an order of Maverick County, Texas Declaring
     projects of the Certificates of Obligations as necessary to preserve the public health of the
     residents of the Maverick County, Texas. County Judge
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34. Discussion and Appropriate Action to adopt an order authorizing Maverick County, Texas
    to proceed with filing a declaratory judgement related to Certificate of Obligation pursuant
    to Chapter 1205 of the Texas Government Code. County Judge

35. Discussion and Appropriate Action to recognize revenue in the amount of $270.00- Annual
    Halloween Quemado Event. County Judge

36. Discussion and Appropriate Action to accept the Maverick County Appraisal District 2024-
    2025 Official Ballot for the Nomination of Isidro De Los Santos, IV. County Judge

37. Discussion and Appropriate Action to approve a resolution to cast Maverick County official
    ballot 2024-2025 in favor of Isidro Dc Los Santos, IV as member of Board of Directors for
   the Maverick County Appraisal District. - County Judge

38. Discussion and Appropriate Action to approve 2024 Maverick County Resolution for
    Indigent Defense Grant Program. County Judge

39. Discussion and Appropriate Action to approve a resolution for the Texas Parks and
   Wildlife Department Grant.     County Judge

40. Discussion and Appropriate Action to approve a resolution for Southwest Area Regional
    Transit District (S WART). County Judge

41. Discussion and Appropriate Action to approve a resolution supporting designation of the
   Eagle Pass Metropolitan Planning Organization.     County Judge

42. Discussion and Appropriate Action to approve Budget Amendments for FY 2023.         County
   Judge
43. Discussion and Appropriate Action to approve Budget Amendments for FY 2024.         County
   Judge

44. EXECUTIVE SESSION:

    CLOSED SESSION:
   1.   Executive Session on matters pursuant to 551.071: Consultation with Attorney -
        Discussion and Appropriate Action to receive a response from the Maverick County
        Election Administrator on the submission of the petition submitted to Maverick County
        regarding the Certificate of Obligation Series 2023, subject but not limited to
        ratification, denial and! or further action. County Judge


45. Accounts Payable

46. Warrants Pending

47. Adjournment
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Dated the 27th day of October 2023




                                                                  Ramsey English Cantu
                                                                          County Judge

CERTIFICATE
1, the undersigned, do hereby certify that the above NOTICE OF MEETING of the above named
Commissioners' Court is a true and correct copy of notice and that a true and correct copy of said
Notice is posted on the bulletin board outside the Courthouse of Maverick County, Texas at a place
readily accessible to the general public at all times on the 27th day of October, 2023, and said notice
remained so posted continuously for at least 72 hours proceeding the scheduled time of said
meeting.


Posted: October 27th 2023




                                                          Ramsey English Cantu
                                                              County Judge

"The Maverick County Court Commissioners reserves the right to adjourn into closed session at
any time during the course of the meeting to discuss any matters listed above should such action be
necessary as authorized by the Texas Open Meetings Act, Texas Government Code 551.071
(Consultation with Attorney), 551.072 (Deliberations about Real Property), 551.074 (Personnel
Matters), 551.0725 (Deliberation Regarding Contract Being Negotiated) or 551.087 (Economic
Development) and any other provision under Texas Law that permits this governmental body to
discuss a matter in a closed session. Action, if any, will be taken in open session."

MAVERICK COUNTY COURTHOUSE ACCESSIBILITY STATEMENT
This meeting site is accessible to disabled persons. There are two (2) disabled persons vehicle
parking spaces reserved at the courthouse parking lot. Entrance to the courthouse is accessible.
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XC: Via-Email
County Commissioners
293' Judicial District Attorney
County Clerk
District Clerk
County Tax Assessor Collector
Department Heads
County Treasurer
News Media
County Attorney
County Sheriff
293 Judicial District Judge
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      Judicial District Judge




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